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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:14CR409
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )               MEMORANDUM
                                             )                AND ORDER
SHANE M. SEIZYS,                             )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s Notice of Appeal (Filing No. 256)

and Application to Proceed in Forma Pauperis and Request for Attorney (Filing No. 257).

       The Defendant was represented in this Court by appointed counsel (Filing No. 32).

Therefore, under Federal Rule of Appellate Procedure 24(a)(3) he may proceed on appeal

in forma pauperis without further authorization. Since this matter has been appealed to the

U.S. Court of Appeals for the Eighth Circuit, counsel will need to request appointment by

that Court to represent the Defendant on his appeal. Therefore,

       IT IS ORDERED that the Defendant’s Application to Proceed in Forma Pauperis and

Request for Attorney (Filing No. 257) is denied as moot.

       DATED this 15th day of June, 2016.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge
